     Case 1:24-cr-02002-SAB    ECF No. 36    filed 11/22/24      PageID.71           Page 1 of 2



 1
                                                                        FILED IN THE

 2                                                                  U.S. DISTRICT COURT
                                                              EASTERN DISTRICT OF WASHINGTON


 3                                                            Nov 22, 2024
 4                                                                 SEAN F. MCAVOY, CLERK



 5
 6                       UNITED STATES DISTRICT COURT
 7                      EASTERN DISTRICT OF WASHINGTON
 8
 9 UNITED STATES OF AMERICA,
10         Plaintiff,                           No. 1:24-CR-2002-SAB-1

11         v.
12 MARTIN VINCENTE PATINO,
                                                ORDER DISMISSING
13         Defendant.
                                                INDICTMENT
14
15        A sentencing hearing was held in a related matter on November 19, 2024, in
16 Yakima, Washington. Defendant was present, in custody, and represented by Craig
17 Webster. The United States was represented by Benjamin Seal.
18        The Government asked this Court to dismiss the Indictment filed in the
19 above-captioned case because Defendant has now been sentenced in the related
20 matter, 1:23-CR-2072-SAB-1. Defendant did not object. This Order memorializes
21 the Court’s oral ruling.
22 //
23 //
24 //
25 //
26 //
27 //
28 //

     ORDER DISMISSING INDICTMENT # 1
     Case 1:24-cr-02002-SAB     ECF No. 36      filed 11/22/24   PageID.72   Page 2 of 2



 1        Accordingly, IT IS HEREBY ORDERED:
 2        1.     The United States’ oral motion to dismiss indictment, is GRANTED.
 3        2.     The Indictment filed in the above-captioned case, ECF No. 1, is
 4 DISMISSED.
 5        IT IS SO ORDERED. The District Court Executive is hereby directed to
 6 enter this Order, furnish copies to counsel, and close the file.
 7        DATED this 22nd day of November 2024.
 8
 9
10
11
12
13                                Stanley A. Bastian
14                        Chief United States District Judge
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     ORDER DISMISSING INDICTMENT # 2
